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                                                              HONORABLE RONALD B. LEIGHTON
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                                UNITED STATES DISTRICT COURT
6                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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8                                                         Case No. 3:19-cv-05798-RBL
     DOUGLAS FERRIE,
9                                                         NOTICE OF APPEARANCE
                    Plaintiff,
10
            v.
11   WOODFORD RESEARCH LLC, et al.,
12                  Defendants.
13
14

15   TO:             CLERK OF THE COURT
16
     AND TO:         ALL COUNSEL OF RECORD
17

18          YOU, AND EACH OF YOU, WILL PLEASE TAKE NOTICE that Michael E. Kipling
19   and Marjorie A. Walter of Walter Kipling PLLC hereby enter their appearance as counsel on
20   behalf of Defendants Greg Herlean and Horizon Trust Company, LLC in the above-entitled
21   action and request that filings and notice of all further proceedings in said action except original
22   process be served on each of them via the ECF system.
23
     ///
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     ///
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26   ///

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     NOTICE OF APPEARANCE - 1                                                   WALTERKIPLING PLLC
     (19-cv-05798-RBL)                                                             1546 NW 56TH ST #735
                                                                                SEATTLE, WASHINGTON 98107
                                                                                 telephone (206) 545-0347
             Case 3:19-cv-05798-RBL Document 16 Filed 10/08/19 Page 2 of 3




1          DATED this 8th day of October, 2019.

2                                            s/ Michael E. Kipling
3                                            Michael E. Kipling, WSBA #7677
                                             mike@walterkipling.com
4
                                             s/ Marjorie A. Walter
5                                            Marjorie A. Walter, WSBA #40078
                                             marjorie@walterkipling.com
6

7                                            WALTERKIPLING PLLC
                                             1546 NW 56th St #735
8                                            Seattle, WA 98107
                                             (206) 545-0347
9
                                             Counsel for Defendants Greg Herlean and
10                                           Horizon Trust Company LLC
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     NOTICE OF APPEARANCE - 2                                        WALTERKIPLING PLLC
     (19-cv-05798-RBL)                                                  1546 NW 56TH ST #735
                                                                     SEATTLE, WASHINGTON 98107
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               Case 3:19-cv-05798-RBL Document 16 Filed 10/08/19 Page 3 of 3




1                                    CERTIFICATE OF SERVICE

2           I hereby certify that on the 8th day of October, 2019, I electronically filed the foregoing

3    with the Clerk of the Court using the CM/ECF system which will send notification of such filing

4    to all counsel of record.

5

6           DATED this 8th day of October, 2019.

7
                                                   s/ Marjorie A. Walter
8                                                  Marjorie A. Walter, WSBA #40078
                                                   WALTERKIPLING PLLC
9                                                  1546 NW 56th St #735
10                                                 Seattle, WA 98107
                                                   (206) 545-0347
11                                                 marjorie@walterkipling.com

12                                                 Counsel for Defendants Greg Herlean and
                                                   Horizon Trust Company LLC
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     NOTICE OF APPEARANCE - 3                                                  WALTERKIPLING PLLC
     (19-cv-05798-RBL)                                                             1546 NW 56TH ST #735
                                                                                SEATTLE, WASHINGTON 98107
                                                                                 telephone (206) 545-0347
